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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

CHERI WILLARD                        )
                                     )
         COMPLAINANT                 )
                                     )
VS.                                  ) Case No.
                                     )
ALEJANDRO MAYORKAS, ACTING SECRETARY )
                                     )
         RESPONDENT                  )



                            COMPLAINT AND JURY DEMAND

       COMES NOW Complainant, CHERI WILLARD, by and through her undersigned

counsel, and files this Complaint for damages for her causes of action against Defendant the United

States Department of Homeland Security, U.S. Citizenship and Immigration Services.

Complainant alleges as follows:

                                JURISDICTION AND VENUE

               This action is authorized and instituted pursuant to Title VII of the Civil Rights Act

of 1964 (“Title VII”), 42 U.S.C. §§ 2000e et seq.

               As this Complaint asserts federal causes of action arising under the laws of the

United States, jurisdiction is appropriate pursuant to 28 U.S.C. § 1331.

               Complainant was employed by the Defendant in Kansas City, Missouri. Pursuant

to 28 U.S.C. § 139, venue properly lies in this judicial district in that the alleged unlawful

employment practices were committed within the jurisdiction of the United States District Court

for the Western District of Missouri, specifically in Kansas City, Missouri, and the Defendant is a

government employer who is subject to the jurisdiction of this Court.
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                                             PARTIES

               Complainant, Cheri Willard, is a United States citizen. She resides in the greater

Kansas City area.

               Complainant is a disabled female who has participated in protected activity.

               Defendant Alejandro N. Mayorkas, in his capacity as Secretary of the U.S.

Department of Homeland Security, is located in Washington, D.C.

               The United States of America and its Agency, United States Department of

Homeland Security is in Overland Park, Kansas.

                              ADMINISTRATIVE PROCEDURES

               Complainant timely filed her formal complaint. That administrative Complaint of

Discrimination was assigned Agency Case Nos. HS-CIS-00552019 and HS-CIS-00932-2020,

EEOC Case no. 560-2020-00060x and .EEOC No. 560-2020-00060X.

               Complainant’s administrative Complaints of Discrimination alleged that she was

discriminated against on the basis of her age, disability, sex, reprisal and retaliation because of

prior protected activity.

               Complainant has exhausted all administrative remedies in that on August 20, 2021,

Defendant issued its Final Agency Decision on Complainant’s claims.

               Complainant timely filed this lawsuit within 90 days of the receipt of the Final

Agency Decision.

               All of Complainant’s claims alleged in this Complaint were considered during the

administrative investigation of her administrative Complaints of Discrimination and they

reasonably followed from the allegations contained in the administrative complaints of

discrimination, reprisal, and retaliation.



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                Pursuant to 42 U.S.C. § 2000e-16(c), Complainant therefore invokes her right to

bring this civil action in that she has satisfied all administrative and judicial prerequisites to the

institution of this action.

                        ALLEGATIONS COMMON TO ALL COUNTS

                Complainant is a disabled Caucasian female over the age of 40 who has engaged in

prior protected activity including raising concerns about racism in the processing of applications

by individuals seeking to gain admission to the United States.

                Complainant was hired as a GS-1801-9 Immigration Services Officer (ISO),

National Benefits Center (NBC), Special Immigrant Juveniles (SIJ) Adjudications, Overland Park,

Kansas. She had worked for the Agency over six years at the time the Agency terminated her.

                Ms. Willard received evaluations indicating she met expectations in all years prior

to her performance appraisal in 2020.

                On or about June 2019, Ms. Willard filed a formal complaint of discrimination

against the Agency for failing to reasonably accommodate her disability, harassment and

retaliation arising from the assertion of her rights under The Rehabilitation Act of 1973, Title VII

and FMLA.

                The issues in Complainant’s Formal Complaint include the following:

            a. On or around August 7, 2018, Complainant requested a reasonable accommodation

                of a chair and Complainant’s first line supervisor subjected her to rebuke and

                immediate denial of the request.

            b. In or around August 2017, while Complainant was on leave for a serious health

                condition, management subjected Complainant to ridicule and threatened to charge

                her with absent without leave.



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           c. From June 2017 and through March 25, 2019, management subjected Complainant

              to increased scrutiny of her work and was required to go over things repeatedly, she

              was insulted and told “you aren’t that smart,” and she was denied special

              assignments.

           d. On November 30, 2018, Complainant received a copy of her 2018 Performance

              Plan and Appraisal with negative narrative comments, days after Complainant and

              her supervisor discussed her rating and Complainant’s signing the appraisal on

              October 25, 2018.

           e. In and around November 2018, Complainant learned she was not selected for an

              Immigration Services Officer II position, advertised under Vacancy Announcement

              CIS-10208668-NBC.

           f. On February 21, 2019, she was given a letter of counseling.

           g. On or about August 9, 2019, the ergonomic chair Complainant received as a

              reasonable accommodation was ordered without the necessary lumbar support

              accessory.

              In her second complaint, Ms. Willard alleged that from November 1, 2019 and

through January 2, 2021, she was subjected to harassment. Some incidents provided as examples

include the following:

           a. During this timeframe management reviewed 100% of Complainant’s work.

           b. On January 13, 2020, an email was timing out early which impacted Complainant’s

              efficiency.

           c. On February 3, 2020, an employee kept interrupting her meeting with her

              supervisor.



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              d. In approximately early October 2020, an employee was assigned to the cubicle next

                 to Complainant’s cubicle in violation of the distancing requirements due to

                 COVID-19.

              e. In December of 2020, Complainant submitted a Security Incident Report (SIR) with

                 respect to a PII spill where management included what Complainant believed to be

                 PII in Complainant’s disciplinary and performance records and on January 2, 2021,

                 the Office of Integrity Command Center emailed Complainant’s private

                 information regarding the SIR to 122 USCIS managers.

                 On March 2, 2020, Complainant was again denied the reasonable accommodation

of a lumbar support chair.

                 On March 20, 2020, Complainant was given a negative interim performance

review.

                 On September 10, 2020, Complainant was placed on a Performance Improvement

Plan (PIP).

                 On November 17, 2020, Complainant was informed that she failed her PIP.

                 On December 21, 2020, Complainant was issued a proposed removal from Federal

Service.

                 On February 3, 2021, Complainant was informed she was not allowed to add

Schedule A status to an application for the position Investigative Specialist, Announcement FVD-

2021-0001.

                 On February 16, 2021, Complainant’s supervisor denied approval for Complainant

to apply to a detail opportunity.




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               On March 24, 2021, Complainant was denied approval for the HHS Southwest

Border Support Opportunity Detail.

               On April 1, 2021, Complainant was terminated from her position.

               On or about April 1, 2021, Management offered Complainant a settlement of

resignation in lieu of termination in exchange for signing an agreement to not seek or accept

employment with the USCIS in the future.

               Ms. Willard also complained that the Agency was unfairly and discriminatorily

using race as a factor in the determinations made regarding those seeking entry into the country to

escape persecution.

               Subsequent to those complaints, Complainant has unreasonably been targeted for

discipline, close scrutiny of her work and placed on a Performance Improvement Plan that did not

comply with the Collective Bargaining Agreement or the current law and statutes in effect

concerning PIPs.

               Ms. Willard’s supervisor, Melanie Gordon, retired in 2019. She was replaced by a

new supervisor who was new to the department. Immediately upon becoming the supervisor,

Ms. Vinyard-Jacoby placed Complainant on 100% review of all work product.

               Ms. Vinyard-Jacoby’s actions were unprecedented and discriminatory.

               The discriminatory nature of the conduct is evidenced by the supervisor’s

comments that she was placed there to terminate Ms. Willard and that she had “heard” of

Complainant’s issues.

               Ms. Jacoby, without specifically identifiable evidence, determined that

Ms. Willard was a “poor performer” before she even had the opportunity to review Ms. Willard’s

work. She used that to justify an unprecedented 100% review of all work product.



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               No other individual has been placed on 100% review of all of their work product in

the manner in which Ms. Willard has.

               Although Ms. Willard had at all times previously met expectations in her

performance reviews, the unprecedented action of her new supervisor micromanaging every single

action taken by Ms. Willard is pretextual for discrimination. Her supervisor also engaged in

assaultive behavior toward plaintiff.

               Because of the sensitive nature of the work they handle, all adjudicators have the

final determination letters they send out reviewed for accuracy, clarity and completeness. If those

letters are found to be something less than accurate, clear or complete, they are returned to the

adjudicator for additional materials to be included or a rewrite. This kind of oversight is routine.

               The returning of letters for additional information or rewriting is common and does

not count against the adjudicators. However, those returns did count against Ms. Willard.

               Similarly, letters addressed to potential applicants are also always reviewed for

accuracy and completeness. All other adjudicators have had letters returned for correction. Only

Ms. Willard’s letters have been deemed unacceptable.

               Complainant’s     letters   have   been   deemed     unacceptable      despite   earlier

commendations on Ms. Willard’s communication and writing abilities.

               Ms. Willard’s subsequent supervisor, Ms. Smith, continued the 100% review of all

work product of Complainant. She took pains to describe “errors” made by Ms. Willard although

there was no established standardization of the work product.

               Significant variance appears between supervisors regarding the type of letters to

send, the information to be found in those letters and what constitutes an “error.”




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               This lack of exactitude makes it impossible to discern in each given situation how

the adjudicative materials should be assembled and written.

               Before her complaints of discrimination, Ms. Willard’s manner of writing and

assembling the adjudicative materials was acceptable.

               Once Ms. Willard was placed on 100% review, she was stripped of discretion in

her job duties. At the same time, she was rebuked for failing to use discretion in those same duties.

               When the agency informed Complainant of the Notice of Intent to Remove, it did

not provide Complainant with the basic information necessary to rebut or dispute the allegations

made against her.

               She was not allowed to review any file that is listed in the accusations against her

and the reference numbers of all of the cases were redacted so she could not dispute the accuracy

of the Management’s account.

               When Ms. Willard attempted to receive advice from another adjudicator to make

her performance as good as that adjudicator, she was told that she was to receive all information

directly from her supervisors and not from other persons with knowledge.

               The PIP foisted upon Complainant was used as a punitive device and not as an

attempt to rehabilitate Ms. Willard.

               Since the Executive Order signed by President Trump (and now vacated by

President Biden), PIPS have been reduced to 30 days as a general rule.

               However, in this Agency, the standard PIP is much longer because of the time

issues involved. Per the Collective Bargaining Agreement, a PIP on any product line was supposed

to include sixty days of work. As the Collective Bargaining Agreement is a contract between

management and employees, executive orders do not override that agreement.



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               Complainant was given only 45 days of work product.

               Given the short time frame, the work product results set forth by the Agency

actually show that Ms. Willard performed at the expected level during the PIP.

               Despite actually meeting the performance standards of the PIP, Ms. Willard was

terminated.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Complainant suffered grievous injury and damage, including but

not limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

 COUNT 1: AGE, DISABILITY, SEX AND DISCRIMINATION BASED UPON PROTECTED
                                 ACTIVITY
                           DISPARATE TREATMENT

               Complainant hereby incorporates by this reference each and every allegation found

in paragraphs 1–56.

               Complainant, a disabled, Caucasian female over the age of 40, is a member of a

protected class.

               She was qualified for the position she held at the USCIS and met her employer’s

legitimate performance expectations.

               Complainant suffered adverse job actions when management engaged in the actions

including but not limited to:

               a.      Terminated Complainant from her employment following her complaints of

       discrimination;

               b.      Gave Complainant a PIP;

               c.      Began undermining her work so that she could not be successful;
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                d.      Made false allegations regarding Complainant’s work and conduct;

                e.      Other events as set forth in the Statement of Facts.

                The Agency and Management Officials treated similarly situated non-disabled

male employees over the age of 40 more favorably than Complainant.

                As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Complainant suffered grievous injury and damage, including but

not limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

COUNT 2 HOSTILE ENVIRONMENT BASED ON AGE, DISABILITY, SEX AND REPRISAL
                         ALL DEFENDANTS

                Complainant hereby incorporates by this reference each and every allegation found

in paragraphs 1–56.

                During the course of Complainant’s employment with the Defendant, Complainant

experienced a hostile environment based upon her age, disability, sex, and protected activity in

that:

                f.      Complainant was subjected to harassment;

                g.      The harassment was unwelcome;

                h.      The harassment was based upon Complainant’s race;

                i.      The harassment was sufficiently severe or pervasive that a reasonable

         person in Complainant’s position would find Complainant’s work environment to be

         hostile or abusive;

                j.      At the time the harassment occurred and as a result of it, Complainant

         believed the work environment to be hostile or abusive;


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               k.      Defendants knew or should have known of the harassment; and

               l.      Defendants failed to take prompt, appropriate corrective action to end the

       harassment.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Complainant suffered grievous injury and damage, including but

not limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

                                    COUNT 3: RETALIATION
                                      ALL DEFENDANTS

               Complainant hereby incorporates by this reference each and every allegation found

in paragraphs 1–56.

               Complainant complained to Defendants her concerns that she was being

discriminated against directly and through her EEO informal counseling that occurred in

September 2021 as well as her later formal complaint.

               Complainant reasonably believed that Complainant was being harassed and/or

discriminated against on the basis of race and sex or age.

               Defendant engaged in adverse actions against the Complainant including but not

limited to the following actions:

           a. Terminating Complainant from her employment following her complaints of

       discrimination;

           b. Giving Plaintiff a PIP;

           c. Undermining her work so that she could not be successful;

           d. Other events as set forth in the Statement of Facts.


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               Complainant’s complaints of racial and sex-based harassment, disability and/or age

discrimination were contributing and/or motivating factors in the adverse actions taken against

Complainant.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Complainant suffered grievous injury and damage, including but

not limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental

anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

      COUNT 4: 42 U.S.C. 1983 DUE PROCESS VIOLATION; IMPAIRMENT OF

                                          CONTRACT

               Plaintiff hereby incorporates by this reference each and every allegation found in

paragraphs 1–56.

               President Donald J. Trump issued an executive order preempting the collective

bargaining agreements for Federal Employees. That executive order limited the duration of

Performance Improvement Plans and made it easier to terminate Federal employees.

               This executive order, enforced by the USCIS, impaired the collective bargaining

agreement for the USCIS as the CBA for the USCIS mandated PIPs of at least 60 days, usually 90

and granted due process rights to employees given a notice of intent to terminate.

               Plaintiff was therefore deprived of due process of law by virtue of the Presidential

executive order that was enforced by USCIS.

               As a direct and proximate result of the conduct of Defendants and the conduct of

the supervisors and managers, Complainant suffered grievous injury and damage, including but

not limited to past, present, and future lost wages, benefits, earnings and earning capacity, mental



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anguish, pain, humiliation, embarrassment, depression, anxiety, anger, physical manifestations of

emotional distress and physical injury, and lost enjoyment of life.

       WHEREFORE, Complainant respectfully prays that this Court:

               Issue judgment against the Defendants for all the damages that Complainant has

incurred, including without limitation, physical and personal injury, emotional distress, back pay,

future pay, lost earnings, lost earning capacity, special damages, and all compensatory damages to

which the Complainant is entitled;

               Issue judgment against the Defendants for equitable or injunctive relief including

returning Complainant to a position commensurate to that from which she was terminated;

               Award Complainant her reasonable attorneys’ fees, costs, and expenses;

               Award to Complainant any and all such further relief as may be equitable and just.

                              DEMAND FOR TRIAL BY JURY

       Complainant hereby demands a trial by jury.




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                              Respectfully submitted,


                              /s/ Rebecca M. Randles
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